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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA

                         Case No. 17-60426-CV-Ungaro/O’Sullivan

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

        Defendants.
  ______________________________________/

        NON-PARTY DAVID J. KRAMER’S MOTION FOR PROTECTIVE ORDER
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    Dated: January 17, 2018           Respectfully submitted,


                                      s/ Marcos Daniel Jiménez
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                                    CERTIFICATE OF SERVICE

          This motion was filed electronically on January 17, 2018 through CM/ECF and served on

   counsel for the parties, through that system.

                                                        s/ Marcos D. Jimenez
                                                        Marcos D. Jimenez




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